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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                               Cases No. 6:15-cv-01666-RBD-GJK

WALTER STRATTON BAGG, ESQ.,
and COOPER LAW P.A., individually
and on behalf of all others similarly situated,

       Plaintiffs,
vs.

USHEALTH GROUP, INC.,
a Delaware corporation, and
USHEALTH ADVISORS, LLC,
a Texas limited liability company,

      Defendants.
_____________________________________/

                              JOINT NOTICE OF SETTLEMENT

       The Parties hereby give notice to the Court that they have reached a settlement agreement.

The Parties hereby request that all deadlines be stayed. The Parties will file a joint stipulation of

dismissal once the settlement has finalized.



                                                      Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that the foregoing was electronically filed with the Clerk of the

Court using the CM/ECF system, on this 28th day of July, 2016, which will send a notice of

electronic filing to all attorneys of record.


                                                      By: s/ Joshua Glickman          .
                                                            Joshua Glickman




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